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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
AUTHORS GUILD, DAVID BALDACCI, MARY
BLY, MICHAEL CONNELLY, SYLVIA DAY,
JONATHAN FRANZEN, JOHN GRISHAM, ELIN
HILDERBRAND, CHRISTINA BAKER KLINE,                   No. 1:23-cv-08292-SHS-OTW
MAYA SHANBHAG LANG, VICTOR LAVALLE,
GEORGE R.R. MARTIN, JODI PICOULT,
DOUGLAS PRESTON, ROXANA ROBINSON,                     PUBLIC REDACTED VERSION
GEORGE SAUNDERS, SCOTT TUROW, and
RACHEL VAIL, individually and on behalf of others
similarly situated,

                 Plaintiffs,

                     v.

OPENAI INC., OPENAI LP, OPENAI LLC,
OPENAI GP LLC, OPENAI OPCO LLC, OPENAI
GLOBAL LLC, OAI CORPORATION LLC,
OPENAI HOLDINGS LLC, OPENAI STARTUP
FUND I LP, OPENAI STARTUP FUND GP I LLC,
and OPENAI STARTUP FUND MANAGEMENT
LLC,

                 Defendants.

JONATHAN ALTER, KAI BIRD, TAYLOR
BRANCH, RICH COHEN, EUGENE LINDEN,
DANIEL OKRENT, JULIAN SANCTON,                        No. 1:23-cv-10211-SHS-OTW
HAMPTON SIDES, STACY SCHIFF, JAMES
SHAPIRO, JIA TOLENTINO, and SIMON
WINCHESTER, on behalf of themselves and all
others similarly situated,

                 Plaintiffs,

                     v.

OPENAI, INC., OPENAI GP, LLC, OPENAI, LLC,
OPENAI OPCO LLC, OPENAI GLOBAL LCC,
OAI CORPORATION, LLC, OPENAI HOLDINGS,
LLC, and MICROSOFT CORPORATION,

                 Defendants.
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NICHOLAS A. BASBANES and NICHOLAS
NGAGOYEANS (professionally known as Nicholas
Gage), individually and on behalf of all others      No. 1:24-cv-00084-SHS-OTW
similarly situated,

                Plaintiffs,

                    v.

MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI GP, LLC, OPENAI HOLDINGS, LLC,
OAI CORPORATION, LLC, OPENAI GLOBAL,
LLC, OPENAI, LLC, and OPENAI OPCO LLC,

                Defendants.


   DECLARATION OF ASHLEY PANTULIANO IN SUPPORT OF DEFENDANTS’
             OPPOSITION TO PLAINTIFFS’ LETTER BRIEF




                                          2
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I, Ashley Pantuliano, hereby declare as follows:

         1.      I am a Deputy General Counsel at OpenAI OpCo, LLC. I have been employed by

OpenAI OpCo, LLC since November 2022. I make these statements based on personal

knowledge, and if called upon to testify as to the facts stated in this declaration, I would and

could testify thereto.

         2.      The OpenAI-Microsoft Data Working Group was




                                                                         (I understand a version of

this was filed as Ex. 1 to the motion filed by the Authors Guild plaintiffs regarding the Data

Working Group.)

         3.      I have been a member of the Data Working Group since its inception and remain

a member as of this writing.

         4.      The purpose of the Data Working Group is



                  (See id.)

      5. The first meeting of the Data Working Group was held on February 9, 2023.

              a. At that time, and continuing to today, OpenAI understood that it had a common

                 interest with Microsoft relating to




1
    In this declaration, I refer to OpenAI, Inc. and OpenAI OpCO, LLC collectively as “OpenAI.”


                                                   3
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            b. Also at the time, OpenAI and Microsoft had been sued in a putative class action

               lawsuit filed on November 3, 2022 asserting violations of the Digital Millennium

               Copyright Act, 17 U.S.C. §§ 1201-1205, and other claims relating to data

               acquisition practices. (See Doe 1 et al. v. Github, Inc. et al., Case No. 4:22-cv-

               06823-JST (N.D. Cal. filed Nov. 3, 2022), ECF No. 1, attached hereto as Ex. B.)

               The lawsuit was later consolidated with Doe 3 et al. v. Github, Inc. et al., Case

               No. 4:22-cv-07074-JST (N.D. Cal. filed Nov. 10, 2022). The consolidated

               lawsuit remains pending.

       6.      All of the OpenAI employees that have served or currently serve as members of

the Data Working Group are attorneys and members of the OpenAI legal team, and have acted at

all times in a legal capacity while part of the Data Working Group. Tom Rubin, an OpenAI

lawyer who is and has always been a member of the OpenAI legal team, is a member of the Data

Working Group, and has acted at all times in a legal capacity while part of the Data Working

Group. None of the current or requested custodians in either the Authors Guild or New York

Times cases have ever been a member of the Data Working Group. 2



2
  Collectively, I understand the current custodians or requested custodians in the two actions are:
Nick Ryder, Alex Paino, Chris Koch, Ian Sohl, Barret Zoph, John Schulman, Dario Amodei, Ben
Mann, Tom Brown, Alec Radford, Chris Hallacy, Henrique Ponde de Oliveira Pinto, Lilian
Weng, Vinnie Monaco, Johannes Heidecke, Lama Ahmad, Peter Welinder, Nick Turley, Angela
Jiang, Sam Altman, Mira Murati, Greg Brockman, Peter Hoeschele, Varun Shetty, James Dyett,


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       7.       The OpenAI members of the Data Working Group are working in a legal role.

Their responsibilities in serving on the Data Working Group related to



                               . The use of data for training large language models can invoke

many legal issues, including, for example, issues relating to intellectual property, privacy, and

contract law.

       8.       To my knowledge and belief, all of the Microsoft employees that I have interacted

with as members of the Data Working Group are members of the Microsoft legal team.

       9.       The Data Working Group exclusively serves a legal, not business, purpose. The

Data Working Group is not and has not been responsible for




                                                                                         .

       10.      The email thread produced at OPCO_NEWS_0000669 /

OPCO_SDNY_0012381 3 is not discussing the Data Working Group. The thread is instead

discussing a separate meeting related to data acquisition and was incorrectly labeled with the

subject line “Re: Data working group.” In fact, both OpenAI and Microsoft clarified on

February 3, 2023 that the meeting referred to in OPCO_NEWS_0000669 /



Alex Passos, Peter Deng, Suchir Balaji, Michael Lampe, Ethan Stock, James Betker, William
Fedus, Daniel Kokotajlo, Brad Lightcap, Ryan Lowe, William Saunders, Ilya Sutskever, and
Wojciech Zaremba.
3
  I understand a copy of this document was filed as Exhibit 3 to the Motion in the New York
Times case and Exhibit 2 to the Motion in the Authors Guild case, respectively.


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